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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

MILLENNIUM IP, INC. and MILLENNIUM MEDIA, INC.,

       Plaintiffs,                                              Case No.: 1:19-cv-03608

v.                                                              Judge Charles R. Norgle, Sr.

THE PARTNERSHIPS AND UNINCORPORATED                             Magistrate Judge Sheila M. Finnegan
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.

                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

               NO.                                    DEFENDANT
                15                                      MAN SA


DATED: July 22, 2019                                Respectfully submitted,

                                                    /s/ Keith A. Vogt
                                                    Keith A. Vogt (Bar No. 6207971)
                                                    Keith Vogt, Ltd.
                                                    1033 South Blvd., Suite 200
                                                    Oak Park, Illinois 60302
                                                    Telephone: 708-203-4787
                                                    E-mail: keith@vogtip.com

                                                    ATTORNEY FOR PLAINTIFF
    Case: 1:19-cv-03608 Document #: 28 Filed: 07/22/19 Page 2 of 2 PageID #:834




                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on July 22, 2019 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt
